              Case 2:12-cr-00315-JAM Document 719 Filed 02/01/21 Page 1 of 2




 1   McGREGOR W. SCOTT
     United States Attorney
 2   PAUL A. HEMESATH
     KEVIN C. KHASIGIAN
 3   Assistant U. S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, CA 95814
     Telephone: (916) 554-2700
 5

 6

 7

 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                            2:12-CR-00315-JAM
13                  Plaintiff,
                                                          STIPULATION AND ORDER FOR
14          v.                                            ANCILLARY HEARING BRIEFING
                                                          SCHEDULE
15   LEE LOOMIS,
16                  Defendant.
17

18          The United States of America through its undersigned counsel, Paul A. Hemesath and Kevin C.

19 Khasigian, Assistant United States Attorneys, and counsel for Petitioner Flagstar Bank, FSB (“Flagstar”),

20 Roland P. Reynolds, respectfully request that the Court extend the deadlines and set the following

21 ancillary hearing briefing schedule regarding Petitioner Flagstar’s filing [ECF No. 714]: the Government

22 to respond by February 12, 2021, and Petitioner to reply by February 19, 2021. The ancillary hearing

23 briefing schedule is requested to allow the parties to analyze and review complex financial documents,

24 discuss any impacts from the defendant’s death, and to deal with impacts of the COVID-19 pandemic.

25 Further, additional potential third parties have been sent notice regarding the seized assets and they have

26 yet to file a claim, thus this extension will allow for a coordinated ancillary proceeding among many

27 claimants.

28
                                                         1                   Stipulation and Order re Ancillary Hearing
                                                                             Briefing Schedule
              Case 2:12-cr-00315-JAM Document 719 Filed 02/01/21 Page 2 of 2




 1          WHEREFORE, based on the foregoing, and for good cause shown, the United States and

 2 Petitioner hereby stipulate that the Government respond by February 12, 2021, and Petitioner reply by

 3 February 19, 2021, following any opposition. If the Court determines that a hearing is necessary, it will

 4 be set after the matter has been fully briefed.

 5

 6 Dated: 1/28/2021                                        McGREGOR W. SCOTT
                                                           United States Attorney
 7

 8                                                   By:   /s/ Kevin C. Khasigian
                                                           PAUL A. HEMESATH
 9                                                         KEVIN C. KHASIGIAN
                                                           Assistant U.S. Attorneys
10

11 Dated: 1/28/2021
                                                     By:   /s/ Roland P. Reynolds
12
                                                           ROLAND P. REYNOLDS
13                                                         Counsel for Petitioner Flagstar Bank, FSB
                                                           (Authorized by email)
14

15

16                                                     ORDER

17
            IT IS SO ORDERED.
18
     Dated: January 29, 2021                                   /s/ John A. Mendez
19                                                             THE HONORABLE JOHN A. MENDEZ
20                                                             UNITED STATES DISTRICT COURT JUDGE

21

22

23

24

25

26

27

28
                                                           2                  Stipulation and Order re Ancillary Hearing
                                                                              Briefing Schedule
